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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 DAVID NDALAMBA, and STARLINE
 MEDIA, INC.,

             Plaintiffs,

 v.                                          Case No. 6:20-cv-1210-GAP-GJK

 ELISHA TRICE, JOMY STERLING,
 and STAR STATUS GROUP,

             Defendants.


      PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO FILE A
         RESPONSE TO DEFENDANTS’ MOTION TO STRIKE

      Plaintiffs STARLINE MEDIA, INC. and DAVID NDALAMBA (collectively,

“Starline”), by and through undersigned counsel and pursuant to Rule 6 of the

Federal Rules of Civil Procedure, hereby files this Motion for a Request for

Extension of Time to Defendants’ Motion to Strike (the “Motion”), and states as

follows:

      Starline’s response to Defendants’ Motion to Strike is currently due on or

before tomorrow, October 8, 2021. D.E. 72. Pursuant to Rule 6(b) of the Federal

Rules of Civil Procedure, the Court may extend deadlines for good cause if a motion

is brought prior to the expiration of the deadline. This Motion is being brought

prior to the expiration of the deadline, and the undersigned represents that there

is good cause for the extension of the deadline, as set forth below.



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      The undersigned counsel has been asked to appear in this litigation late

today by Starline and is cognizant based on a review of the docket that “[t]his case

is in advanced proceedings.” D.E. 56. There are several concerning issues

regarding the past representation of Starline that Starline intends to address in a

separate filing as soon as practicable, but as a pressing concern there are

cybercrimes actively occurring against Starline justifying an extension. Starline,

and Mr. Louis Raymond Gigliotti, Jr., Esq. who currently serves as Starline’s

counsel, are victims of an active ongoing cybercrime. The undersigned counsel has

been in contact with the Federal Bureau of Investigation on Starline’s behalf.

      Significant information concerning Starline, and this matter specifically,

was either taken, destroyed, or both, during this attack, which may still be ongoing

as-of the filing of this motion. Mr. Gigliotti stated to Starline that he would file a

Motion for a Request for Extension of Time yesterday, did not do so, and the

undersigned counsel is filing this Motion at the earliest opportunity.

      Starline can provide evidence associated with this attack at the Court’s

request at any time, however in the abundance of caution associated with any law

enforcement investigation, Plaintiffs are refraining from filing any documentation

depicting what is occurring or providing any further specific detail.

      Starline will seek, in a subsequent filing, to have the undersigned counsel

represent them on a going-forward basis and to remove Mr. Gigliotti as counsel

because of facts recently uncovered by Starline regarding the representation of

Starline by Mr. Gigliotti. These facts may constitute the extremely rare

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circumstances that would justify the modification of the Court’s schedule pursuant

to Rule 16(b) this late in the proceedings, which Plaintiffs are not yet requesting at

this time but anticipate requesting next week.

      For these reasons, Starline respectfully seeks a two-week extension to the

deadline for Plaintiff’s Response to Defendants’ Motion to Strike, which is

currently due on or before tomorrow, October 8, 2021. While the undersigned does

not represent Third Party Defendant Tyler Gnass and believes Mr. Gigliotti

remains counsel for Mr. Gnass, Starline is further requesting that Starline’s

extension also be provided to Third Party Defendant Tyler Gnass.

      WHEREFORE, Starline respectfully requests this Court issue an order

providing a two-week extension to Plaintiff’s response to Defendants’ Motion to

Strike, which is currently due on or before tomorrow, October 8, 2021, to be

modified for all parties currently under obligation to respond to October 22, 2021.

                   LOCAL RULE 3.01(g) CERTIFICATION

      Prior to filing the instant motion, the undersigned has conferred with

opposing counsel regarding the subject matter hereof, who opposes the relief

requested in this Motion.

      Respectfully submitted this 7th day of October, 2021.




                                       Adam C. Losey, Esq.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on October 7, 2021, a true and correct copy of this

Motion was filed via the ECF system, causing a copy to be served on all counsel of

record.




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